






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-06-00315-CV






Cindy Schlapper, Appellant


v.


Rand Forest, Buck Childers, Robert Stewart Leonard, Dorothy Stewart Uzell,

Betty Stewart Hanson, Mike Keuhl, Flagship Marine Corporation 

and Shoreline Development, Appellees






FROM THE DISTRICT COURT OF TRAVIS COUNTY, 201ST JUDICIAL DISTRICT

NO. D-1-GN-05-000033, HONORABLE GISELA D. TRIANA, JUDGE PRESIDING




M E M O R A N D U M   O P I N I O N



		Appellant Cindy Schlapper has filed a motion to abate the instant appeal for 30 days
to allow her to obtain a final appealable judgment from the trial court.  More than 10 days have
elapsed since the motion was filed, and appellees have not responded.  Accordingly, we grant
appellant's motion and abate this appeal for 30 days until January 16, 2007.  If by that date appellant
has not obtained a final appealable judgment, this case will be dismissed for want of jurisdiction.


						__________________________________________

						Jan P. Patterson, Justice

Before Justices Patterson, Pemberton and Waldrop

Filed:   December 14, 2006


